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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re

11380 Smith Road, LLC Case No. 19-10286 (TBM)

EIN: XX-XXXXXXX

Chapter 7

Debtor.

SUPPLEMENTAL RESPONSE TO 11380 SMITH ROAD INVESTMENTS, LLC’S
MOTION FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO SECTIONS
362(D)(1) AND (4) OF THE BANKRUPTCY CODE

The captioned debtor, 1 1380 Smith Road, LLC (the “Debtor”), by and through its counsel,
Buechler & Garber, LLC, for its Supplemental Response to 11380 Smith Road Investment LLC’s
Motion for Relief from the Autornatic Stay Pursuant to Sections 362(D)(l) and (4) of the
Bankruptcy Code.

BACKGROUND
l. On the same date hereof the `Debtor received the attached Letter of lnterest to
purchase its real property located at 11380 Smith Road, Aurora Colorado for a potential price of
$5,000,000. The Debtor is currently pursuing this expression of interest to try to obtain a
purchase contract.
' 2. If the Debtor is successful in obtaining multiple offers for the real property it Will
seek to establish competitive bidding and sale procedures.

DATED February 8, 2019 Respectfully Subrnitted,
BUECHLER & GARBER, LLC

/s/Aaron A. Garber

 

Aaron A. Garber, #36099

999 13th Street, Suite 1230-s
Denver, Colorado 80202
720-381-0045 / 720-381-03 82 FAX

aaron@bandglawoffrce.com

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EXHIBIT A

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GARRISON CAPITAL REALTY ADVISORS

February 6, 2019

lVlr. Louis Hard

11380 Smith Road LLC
11380 E. Smith Road
Aurora, CO 80011

E-l\/lail: louishard@comcast.net

Re: 11380 E. Smith Road
Aurora, Colorado 80011

NON-BlND|NG LETTER OF lNTEREST

Dear |Vlr. Hard,

On behalf of Garrison Capital Rea|ty Advisors, LLC l am pleased to submit this non-binding
Letter of interest (”L|”) for it to purchase the fee simple interest in the Smith Road property,
defined below, under the basic terms and conditions set forth herein. This Ll is not intended
to be legally binding as to any specific term or provision set forth below, or as to any
obligation by either party to proceed with further discussions or negotiations Only a
negotiated, legally-binding contract for the purchase and sa|eof the Property (“PSA”),
which is definitive and acceptable to Buyer and Se||er in all respects, and properly
acknowledged by Se||er and Buyer, shall serve to legally bind the parties.

Purchasing and Garrison Capital Rea|ty Advisors LLC and/or a designated assignee
Selling Entities: (“Buyer”) will acquire all of the rights, title, claims and interest in and to
the Property from 11380 Smith Road LLC (“Se||er”).

Property: The real property located at 11380 E. Smith Road, Aurora, Co|orado, with
approximately 78,221 square feet of building on approximately 5.61 acres
(hereinafter referred to as the “Property”). Buyer shall deliver to Se||er’s
legal counsel a draft of the PSA within 10 days after the mutual execution
of this L|, which shall include the terms and conditions set forth herein.
The parties acknowledge, however, that there are other important terms
besides those herein, and the parties agree to negotiate in good faith a
definitive PSA incorporating these terms and other provisions mutually
acceptable to both. - However, if both parties have not executed a
mutually acceptable PSA within thirty (30) days after mutual execution of
this Ll, either party may terminate this Ll by written notice (which may be
by facsimile or e-mail) to the other party, accompanied by a draft of a
PSA acceptable to it, and such termination shall be effective at 5:00 P.l\/l,
l\/lountain Time on the business day after the date of the termination
notice was given, unless a mutually acceptable definitive PSA has been
executed by the party to whom the termination notice was given.

11380 Smith Road L] f Rev 06/02

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Purchase Price: $5,000,000 ($63.92/SF), in “as is” condition. The PSA will be expressly
contingent upon .the Buyer’s satisfaction with its inspection of the
Property and the fulfillment of all other contractual contingencies

Deposit: Within three (3) business days after mutual execution and delivery of the
PSA (the “Effective Date”) Buyer shall deposit $50,000 with the title
company as an earnest money deposit. Upon its waiver of the
inspection contingencies below, Buyer shall deposit an additional
$50,000 for a total earnest money deposit of $100,000 (said deposits,
individually made and/or in the aggregate, shall hereinafter be referred
to as the “Deposit”.) The Deposit shall be held in an interest-bearing
escrow account with title company. The Deposit shall be non-refundable
to Buyer upon waiver of the contingencies at the expiration of the
inspection Period, except for title defects and unless Buyer terminates
the PSA due solely to Se||er’s default. The Deposit, together with any
interest thereon, will be credited to the Purchase Price.

inspection Period: Buyer shall have forty (40) days from the Effective Date of the PSA to
conduct a full physical inspection of the Property, including without
limitation the structure and roof, and mechanical/electrical/plumbing
systems as well as an-inspection of the title, lease, financial statements
books and records, and similar items Se||er shall provide reasonable
access to the Property for Buyer and/or its agents for the purpose of
conducting its inspections if Buyer is not satisfied with its inspection of
the Property, in its sole and absolute discretion, the Buyer may
terminate the PSA for any reason or no reason by giving a written notice
of termination to Se||er and title company at any time prior to the
expiration of the inspection Period, in which case the Deposit and any
earnings thereon shall be promptly refunded to Buyer.

Se||er shall cause to be furnished within three (3) days of the Effective
Date ali of the following items relating to the Property that are in its
possession or can be reasonably acquired from third parties without out-
of-pocket expense. in the event that Se||er is unable to furnish any of the
below-requested items Se||er shall notify Buyer immediately of
circumstances that prevent it from furnishing them. if any items are
delivered after said three-day period, the inspection Period shall be
automatically extended by the number of days that the Se||er takes to
furnish ali of such items after the three (3) clay period. Se||er
acknowledges that the following items and information are critical for
Buyer to conduct its inspection of the Property:

- A review of ali existing and proposed leases
- Review of financial statements of tenants for 2017 & 2018

- A copy of a current title report showing the encumbrances of

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Financing:

Ciosing:

Ciosing Costs:

record and exceptions to the title policy
- income and expense statements for 2018 and year-to-date 2019
- A copy of the capital and operating budgets for 2018 and 2019
l All environmental studies completed for the Property

- A copy of all structural and mechanical reports completed for the
Property

' A copy of a full set of architectural plans and working drawings of
the Property, including all changes and updates, and including
architectural drawings that would substantiate the net square
footage as an industrial use for the property

- A copy of any existing ALTA survey(s), which survey shall be
updated at Se||er’s expense

1 A copy of the most recent real estate tax bill and assessment of
values

- A copy of the Property insurance policy and any claims made during the

preceding three (3).calendar years
- A schedule of all personal property and fixtures

- Any additional information reasonably requested by Buyer and/or
Buyer’s Lender, if any

Obtaining a loan is a condition precedent to closing the purchase of the
Property, though Buyer may elect to waive this contingency and close
the purchase without a loan. if Buyer chooses to seek financing, Se||er
agrees to cooperate with Buyer and its lender in obtaining necessary
documentation to complete such financing, whether before or after the
ciosing. Buyer will disclose to Se||er 10 days after both parties have
executed the PSA as to whether Buyer will seek financing. if Buyer
notifies seller in writing that Buyer will pursue financing, Se||er will allow
60 days from the Effective Date for Buyer to obtain financing, with
closing to be scheduled within 15 days thereafter.

The closing will take place within thirty (30) days after Buyer’s waiver of
ali contractual contingencies (the “Ciosing Date”).

Se||er`shall be responsible for paying for the applicable transfer taxes
and the documentary stamps on the deed, and for furnishing the title
insurance and for paying the premium. Buyer will be responsible for
paying for any title endorsements required for the transfer of the
Propertyl Seller shall pay for any update of the ALTA survey required by
the title company or lender, if any, Which shall be delivered to Buyer no

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later than ten (10) business days prior to closing. Buyer and Seller shall
split equally all of the recording costs and escrow fees Each party shall
be responsible for paying its own attorney’s fees

Brokers: Ed Mullaney of Garrison Capital Rea|ty Advisors LLC is a licensed real
estate broker in the state of Colorado and will be acting as a Transaction
Broker. Seller shall be responsible for paying said broker at Ciosing a
commission of three (3%) percent of the total purchase price. The
parties hereto represent and warrant that no other broker is due a
commission by Buyer or Se||er, and no other broker is representing
either party in this transaction.

if Se||er is interested in proceeding with negotiations of the legally binding PSA on the general
terms and conditions stated herein, please indicate by executing below and returning a copy of
the same to my office via facsimile or e-maii prior to 5:00 pm, lVlonday, February 18, 2019.

Garrison Capital Rea|ty Advisors LLC

 

Ed Mullaney
Principal

Agreed to and accepted:

 

 

 

 

 

 

Garrison Capital Rea|ty Advisors LLC 11380 Smith Road LLC
By: _ By:

Name: Name:

lts: lts:

Date: Date:

 

 

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CERTIFICATE OF SERVICE

The undersigned certifies that on February 8, 2019 I served by ECF a copy of the
SUPPLEMENTAL RESPONSE TO 11380 SMITH ROAD INVESTMENTS, LLC’S
MOTION FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO SECTIONS
362(D)(1) AND (4) OF THE BANKRUPTCY CODE on all parties against Whorn relief is
sought and those otherwise entitled to service pursuant to FED.R.BANKR.P. and these L.B.R. at
the following addresses:

 

Duncan E. Barber Robert Samuel Boughner

7979 E. Tufts Avenue US Trustee

Ste. 1600 n Byron G. Rogers F ederal Building
Denver, CO 80237-3358 1961 Stout St. Ste. 12-200

Denver, CO 80294-6004

 

Tirnothy M. Swanson
1400 16th St.

6th Floor Bypassed
Denver, CO 80202

 

 

 

 

By: /s/Nichole Garber
For Buechler & Garber, LLC

